Case 1:19-cr-00018-AB.] Document 33 Filed 02/12/19 Page 1 of 1

UN|TED STATES D|STR|CT COURT

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United States of America Crimina| Docket No. 1'1 -cr-OOOlB
Ull `~\.e_ 0
v. Judge Arny Berrnan iackson
a l

Roger i. Stone, Jr.,

Defendant lla`{ _¢O LLL

Notice of Appeal and a Writ of Certiorari €(IIN-td 12 lizl iq

The Department of iustice, Attorney Genera| Matthew Whitaker, Assistant Attorney Genera| ieffrey
Bossert Clark, FB| Director Robert Muelier, etc. classified me as a terrorist. This gives me cause and
standing to intervene in this case and other cases. My Constitutiona| Rights were criminal violated and
thus the Constitutional Rights of all Americans were criminally violated.

Consider the attached pleading as both a Notice of Appea| and a Writ of Certiorari.

By no fault of her own, judge Jackson's order is Unconstitutional. - 02/01/2019 MiNUTE ORDER denying
20 Motion for i_eave to Fiie as to ROGER JASON STONE JR. {1}. Movont David Christenson hasfiied a
motion forieave to fiie a motion to intervene in this case. His motion for ieave to fiie, which the Court
docketed on the ojj'iciai pubiic record, did not attach the intervention motion itseif; it simpiy transmitted
copies of simiiar motions fiied in other cases. But his motion far ieave to fiie any request to intervene Wiii
be DENiED because the Federai Ruies of Criminai Procedure do not provide for intervention in a criminai
case. Aiso, since movant not a party to these proceedings, it is FURTHER ORDERED that no additionoi
submissions from the movant wiii be docketed in this case. THiS iS A FiNAL, APPEALABLE ORDER. Signed
by lodge Amy Berman .iaci<san on 2/1/19. (DMK} {i_-'ntered: 02/01/2019)

The First Amendment is very clear and grants me the Constitutional Right to file a grievance. The
conduct of the Department of Justice was criminal. The American People have a Constitutiona| Right to
this information via the Courts. The Arnerican People also have a Constitutiona| Right to any and ali
Amicus Briefs that are filed. The out of control chaos that is taking place in our country is a direct result
of the Federa| Judiciary censoring Patriotic Americans such as myse|f. The courts allow for profit media
to tile |Vlotions to |ntervene. Not providing for lntervention is Unconstitutiona|. The Federal Judiciary is
responsible for protecting Free Speech, not censoring it.

 
    
 

Godspeed - Sincereiy,

David Andrew Christenson

Box 9063 - Miramar Beach, Fiorida 32 0
504-715-3086 - davida nd rewchristenson@gmai|.com - dchristenson&@hotmaii.com

F SERV|CE
l hereby certify that on Febr foregoing with the Cler|< of Court and

served th¢Vdi j cor_d_tgy_e_;mai| and firstwc|ass mail.
. / f _ q

\DaGc_iAndrew Christenson

FILED

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THE D|STR'CT OF COLUMB|A Clark, U.S. D|strict & Banltruptcy
Cmirts lar the Dlsli|cl nl Culumb|a
United States of America Crimina| Docket No. 1:19-cr-00018
v. ludge Arny B_erman lackson t
'“i\\t 05 lt\.t,l_i.=\-LF

Rogerl. Stone, lr., '
Defendant -£:U~.-:'f "'~\"C' (r\\)~ (,"~~JJ

Nlotion For Leave To Fiie This Motion To intervene `{-:\L\ i` -`\_ \_‘¢"f,\ \l\

The greatest |egal, political and ethical transgression of my lifetime was when President Ford pardoned
President Nixon. Our world today is a direct result ofthat pardon. Life has come full circle and you have a
chance to rectify that mistake. Roger Stone worked for Nixon and it is reported that he has a tattoo of him
on his shoulder. Rager Stone is cancer of the worst kind.

Our country is counting on you. As you can see the United Sates of America is spiraling out of control. Our
country has accelerated into unrecoverable chaos since l first filed with you in the lvlanafort case.

Americans have a Constitutional Right to this information There is no other source for it. | am asking to
be heard, l am not asking for you to rule in my favor. You know my intentions are honorable. l took an
oath to protect my fellow Americans and that is what lam doing.

Each of the lodges in the following cases has publicly docketed my pleadings Four ("} of the ludges have
not ruled on my lvlotions to loin. The cases represent: minors suing the government about climate change,
free speech, health care, immigrants, election tampering, etc.

Man|tind will cease to exist by October 12"‘, 2050 if we don’t change the narrative and dialogue.

 

Rememher that it was Attorney General N|atthew Whitaker that represented me in 2011 when l was
falsely arrested. l can't invent the stuff that has happened to me in my quest to protect my fellow
Americans. l will prevail. judges are actually using my name and are placing my pleadings in the public
docket. l pray that you do the same. Honor the First Arnendment.

*State of Maryland v. United States of America (1:lB-cv-02849) District Court, D. Maryland

lodge Ellen Ho|lander

*State Of New York v. Donald Trump (1:17-cv-05228) District Court, E.D. New York lodge Nicholas Garaufis
*Pen American Center, lnc. v. Trump (l:lB-cv-OQGBB) District Court, S.D. New York ludge Lorna Schofie|d
lu|iana v. United States of America (6:15-cv-01517) District Court, D. Oregon Judge Ann niken

*CORSI v. MUELLER (1:18-cv-02885) District Court, District of Columhia ludge E|len Huvelle

Christenson v. Democratic Nationa| Comrnittee (1:18-cv-05769) District Court, S.D. New York

judge Co|leen |Vchahon

Dernocratic Nationa| Committee v. The Russian Federation {1:18-cv~03501) District Court, S.D. New York
lodge lohn Koeltl

Attachment 1: Motion to join Pen Arnerican Center, lnc. v. Trump (1:18»cv-09433} District Court, S.D. New
York ludge Lorna Schofield {2 of 84 pages)

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Attachment 2: Motion to loin State of Maryland v. United States of America (1:18»cv~02849) District Court,
D. Maryland ludge El|en l-lollander (1 of 5 pages)

  

id Andrew h ° enson

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davidandrewchristenson@gmail.com
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egoing with the Clerk of Court and
rst-class mail.

l hereby certify that on lanu
served the plea-

Davi`d Andrew Christenson

UNITED STATES Dl$TR|CT COURT
FOR THE SOUTHERN DlSTR|CT OF NEW YORK

MOVANT DAV|D ANDREW CHR|STENSON Ca$e NO. 1218-tv-O9433~LGS
PEN AMER|CAN CENTER, INC. JUDGE LORNA G. SCHOF|ELD
Plaintiff,
COMPLA|NT FOR DECLARATORY
v. AND lNJU lV R ' '
~‘€' t ssa
DONA|.D l.TRUMP, in his official capacity i»" "‘"`; ‘ ' q
as President of the United States ` l ' : § §\`,(_)l`\ii(_F/\l..i,i.\’ l" il.F.D
Defendant. ' §§ ‘ \_._
lVlotion for Leave to file this Motion to .loiri l. .' -‘ ii l l ' l""i fig _____ j __ k

lt ls up to you, ludge Lorna G. Schofield, to save our country and mankind via this case. l have no idea
how to do that, but a good starting point is giving me a voice on behalf of the American People and to
order the parties to respond. Put the ball in their court. They should be glad to respond if they truly care
about the American People and you and your family. (Please pardon my language but l need to make a
polnt.)

All parties in this case are Aids lnfected Whores and that includes the attorneys who are officers of this
court and thus protectors of the Constitution. They don't give a damn about this country. They are for

profit and power. The P|aintif'fs invoke the Constitution when it is convenient and when it makes them

money and more powerful. Even non-profit media and universities are really for profit and power.

lvlathematically Mankind will cease to exist by 2050. You can confirm this fact by using high school level
math.

lf you change the narrativel we might stand a chance.

Please incorporate the attached pleadings and letters into this Nlotlon to loin.

Attachment 1: Motion to loin docketed by ludge Ellen Lipton Hollander. This case is about health care
for Americans. She has given the American People a voice. Not one of the 100 plus attorneys have
contacted me and yet most of them are from the 50 states that will ultimately incur the cost of health
care because the Federal Govemment is broke.

Attachment 2: Motion to loin that has not been yet docketed because the service is today, lanuary 8"‘,
2019. This case is about Attorney General Matthew Whitaker who was my attorney in 2011 and gave
away all of my rights and destroyed my life so that he could protect the Department of lustice cover up.

He has been rewarded‘with power and money.

Attachment 3: Friend of the Court/Amicus Brief that you have docketed by no't'a't':cép\édi'l?pray that you
accept lt and give lt consideration _ _
ZS= ll ll Qllé`ll` t§BZ

.....

My information is incoherent and disjolnted and for that l am apologizing. l was never trained or
educated for a war like this and trust me this is a war.

When a lawyer and expert of the law asked lesus what the most important commandment is, lesus
responded, “To love the Lord your God with all your heart, with all your soul, and with all your mind... The

second is to love your neighbor as yourse§. " All the Law and the Prophets hang on these two
commandments.

A Christmos Carol in Prose; Being a Ghost Story of Christmas by Charles Dickens
.Iacob Marley "Mankind was my business. The common welfare was my business; charity, mercy,
forbearance, and benevolence, were, all, my business. The dealings of my trade were but a drop of water
in the comprehensive ocean of my businessl”

Conclusion

l don't know you and yet l have put my life on the line for you and the people you love. All l am asking
for ls a voice and a response

Godspeed

  
 
  
 

 

David Andrew hristenson
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504-715-3086
dimerew¢_lvls_te_¢MmM;
dchri¢.:tenson(i@__hgtmail.com'l

l hereby certify that on .
served the =

 

k David Andrew Christenson

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UN!TED STATES DlSTRlCT COURT

FOR THE DlSTRlCTOF MARYlAND
Movant David Andrew Christenson Civ. No. 1:18~CV-02849-ELH
State of Maryland Complaint for Declaratory and
P|aintiff injunction Relief
\'- lodge Ellen Lipton Hollan&mm
United States of America, et al., ’a’
Defendants DEC 2 6 2018
Motion to Jo`n intervene Amtm»oat=.
_'/ seamen
Order the Department of Justlce to respond to my pleadings and writings and then d%k:lde. Mankind °-_=,,m.,

prevails if there ls a response. The response itself will change the narrative and give Mankind a chance at
surviving. Level the playing fleld. Evil destroys Evi| and with-it Mankind.

The Senate approved BP Attorney (Kirkland & Ellis LLP) Jeffrey Bossert Clark for assistant attorney
general for the U.S. Department oflustice's Environment and Natural Resources Divlslon on Thursday,
october 11th, 2018. Read my Amicus Brief in this case. Kirkland & Ellis "Of Counsel" William Pelham
Barr, who served as the 77th United States Attorney General from 1991 to 1993 during the first Bush
administratlon, has been nominated by Pnesldent Donald Trump to serve.as Attorney General of the
United States. These individuals do not believe in climate change.

President George W. Bush was Presiden_t in 2005 when l-lurr_icane Katrina struck. Negllg`ence by the_
Federal Govemment allowed the Katrina Virus to esoap_e.

Barrwas recommended by Presidents George H. Bush and President George W. Bush to become the
Attorney General. Will this keep President Donald Trump from being impeached and lndicted? Will this
keep Presldent George W. Bush from being indicted?

Review attachments: "The United States Suprerne Court and The Katrina Virus" and “T he Reluctant
Patriot” .

Godspeed. Slncerely,

Davld Andrew Christenson

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CERT|F|CATE OF SERV|CE

 

 

 

My books have been removed/censored/sanitized from the Library of Congress. All references to me and
my books have been removed/censored/sanitized from the Library of Congress. My books have Library of
Congress Control Numbers (LCCN). This book was placed into the Library of Congress in 2012.

The United States Supreme Court and The Katrina Virus
A Prelude/Reference Book/Appendix - Book 7
By David Andrew Christenson
lSBN 978-0-9846893-8-5 Hardback SCKV
lSBN 978-0-9846893-9-2 EBOok SCKV
LCCN 2012933074
Copyright 1-724163643
Persimmon Publishing
Box 9063
Miramar Beach, Florida 32550

An Epic Constitutional Crisis. l am talking about the political destruction of all three branches (Executive,
ludicia| and Legislative) of our Federal Government. One hundred and fifty five million Americans and
Canadians may be infected with The Katrina Virus. Did the United States Supreme Court participate in
the criminal cover-up? Misprision is a crime/felony. ln simple terms it means that you had knowledge of
a crime and did nothing. Did the Supreme Court have knowledge? ¥ES! l gave them the knowledge. The
real question is: what did the Supreme Court do with the knowledge of The Katrina Virus and the cover-
up?

There was no simple way to present this story. l fully acknowledge that the material is presented in an
incoherent manner. What you are reading is a compilation of my communications with the Supreme
Court since my arrest for cyberstalking FB| Special Agent Steven Rayes on March 15"‘, 2011. lt must be
emphasized that l was arrested on a Louisiana Warrant (not a Federal Warrant as one would expect.)
and l have never been charged with a crime. A Louisiana Search and Seizure Warrant was used by the
FB| to steal my evidence, documentation, etc. of what happened in New Orleans after Hurricane Katrina.
ln simplistic terms chemical warfare contaminates were released from DOD and ClA classified facilities.
The_United Stateslvli|itary conductedoperational missions in_violation of Federal Law and killed
Americans. 1500 Americans are still missing. Were the contaminated bodies recovered, analyzed and
burned in Federal Govemment incinerators? Are some of the bodies being kept alive in vegetative states
so that the Federal Government can study the long term effects of the Katrina Virus? (Remember the
Syphilis Studies in Alabama and Guatemala.)

This is a Prelude/Reference Book/Appendix. The end of the story has not been written. Judgment must
not be passed upon the Supreme Court at this time. The Supreme Court may have actually protected
me. Think about it. Who could the Supreme Court have turned to? Congress and the Executive Branch
are responsible for the murder, genocide, treason and crimes against humanity. The only option for the
Supreme Court may have been to provide me with the protection needed, to not only uncover the truth
about the Katrina Virus, but to bring it to the attention of American and Canadian people.

